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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )                    4:09CR3111
                                             )
            v.                               )
                                             )
HECTOR N. CERVANTES RIVERA,                  )        ORDER GRANTING MOTION TO
                                             )                RESTRICT
                   Defendant.                )
                                             )


     IT IS ORDERED that the Motion to Restrict, filing 86, is granted.

     Dated June 16, 2010.

                                    BY THE COURT


                                    s/ Warren K. Urbom
                                    United States Senior District Judge
